       Case 18-40075-pwb          Doc 37 Filed 03/30/18 Entered 03/30/18 05:47:31    Desc Fin.
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                                   UNITED STATES BANKRUPTCY COURT
                                        Northern District of Georgia
                                              Rome Division


In Re: Debtor(s)
                                                            Case No.: 18−40075−pwb
      Eric Mark Watson
                                                            Chapter: 13

      Otilia Marie Watson


                                        NOTICE TO DEBTOR
                              THAT COURSE ON FINANCIAL MANAGEMENT
                                IS REQUIRED TO RECEIVE DISCHARGE



       Upon review of the docket in the above−styled case, it appears that Debtor or Debtors
(hereinafter "Debtor") has not filed Form 423 (Certification About a Financial Management Course)
showing that Debtor has completed the personal financial management course or is exempt. Sections
727(a)(11), 1141(d)(3)(C), and 1328(g) of Title 11, U.S.Code, require an individual debtor in a
Chapter 7, 11, or 13 case to complete an instructional course on personal financial management after
filing the case unless Debtor obtains an order granting an applicable exemption provided by
§109(h)(4). To comply with the course requirement, a debtor must timely file Form 423 with
the Clerk's office. See Bankruptcy Rule 1007(b) and (c) and Official Form 423 (12/15). Failure to
timely file Form 423 may result in the case being closed without Debtor receiving a discharge.
      A Chapter 7 debtor must file Form 423 within 60 days after the first date set for the meeting of
creditors. Chapter 11 and 13 debtors must file Form 423 no later than the date the last payment is
made as required by the plan or the date a motion for entry of discharge is filed. If Debtor
subsequently files a motion to reopen the case in order to file Form 423, Debtor must pay the
appropriate fee to reopen the case. THIS NOTICE WILL BE THE ONLY REMINDER ABOUT
THE COURSE REQUIREMENT.
      This Notice will be served upon the Debtor, counsel for Debtor, and the Trustee.




Dated: March 30, 2018



** Mailing Address
 United States Bankruptcy Court
Room 339, Federal Building
600 East First Street
                                                            M. Regina Thomas
Rome, GA 30161−3187                                         Clerk of Court
                                                            U.S. Bankruptcy Court

Form 417 (Effective 12/01/2015)
